Case 0:19-cv-61867-RKA Document 29 Entered on FLSD Docket 03/23/2020 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 0:19-cv-61867-RKA


  FEDERAL TRADE COMMISSION,

                    Petitioner,

              v.

  DANIEL LAMBERT, et al.,

                    Respondents.



                                      NOTICE

        Pursuant to the Court’s Order dated March 5, 2020, Petitioner, the Federal

  Trade Commission, respectfully notifies the Court that this matter may remain

  closed.

                                           Respectfully submitted,

  ALDEN F. ABBOTT                           s/ Burke W. Kappler
  General Counsel                           BURKE W. KAPPLER
                                            Attorney
  JAMES REILLY DOLAN                        Special Bar No. A5502547
  Deputy General Counsel
  for Litigation                            FEDERAL TRADE COMMISSION
                                            600 Pennsylvania Ave., N.W.
  MICHELE ARINGTON                          Washington, DC 20580
  Assistant General Counsel                 Tel.: (202) 326-2043
  for Litigation                            Fax: (202) 326-2477
                                            Email: bkappler@ftc.gov



  Dated: March 23, 2020.
Case 0:19-cv-61867-RKA Document 29 Entered on FLSD Docket 03/23/2020 Page 2 of 2




                                 Certificate of Service

        I hereby certify that on March 23, 2020, I served the foregoing Notice by

  filing it with the CM/ECF system for the Southern District of Florida, which

  provides a notification to all counsel appearing in this matter.



                                                 s/ Burke W. Kappler
                                                 BURKE W. KAPPLER
